           Case 3:21-cv-01508-JCH Document 35 Filed 06/16/22 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

MARIO CERAME,                         :
                                      :
      Plaintiff,                      :
                                      :
      v.                              :      Civil Action No. 3:21-cv-01508 (JCH)
                                      :
EDWARD LAMONT, et al.,                :
                                      :
      Defendants.                     :

                    MOTION TO WITHDRAW APPEARANCE

      Pursuant to Local Rule 7(e), the undersigned counsel respectfully moves to for

permission to withdraw his appearance for the Defendants, Governor Edward

Lamont and Chief State’s Attorney Richard Colangelo (“Defendants”). Assistant

Attorneys General Janelle Meideros and Lisamaria Proscino have appeared for

Defendants and will continue to represent them in this matter.

                                             Respectfully submitted,

                                             DEFENDANTS,

                                             WILLIAM TONG
                                             ATTORNEY GENERAL


Dated June 16, 2022                          BY: /s/ Dennis M. Carnelli
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         Case 3:21-cv-01508-JCH Document 35 Filed 06/16/22 Page 2 of 2




                                  CERTIFICATION

        I hereby certify that on June 16, 2022 a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on
the Notice of Electronic Filing. Parties may access this filing through the Court’s
CM/ECF system.




                                          /s/ Dennis M. Carnelli
                                         Dennis M. Carnelli (ct30050)




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